                   1    FENNEMORE CRAIG, P.C.
                        Anthony W. Austin (No. 025351)
                   2    Elizabeth A. Delnegro (No. 034613)
                        2394 East Camelback Road, Suite 600
                   3    Phoenix, AZ 85016-3429
                        Telephone: (602) 916-5000
                   4    Email: aaustin@fclaw.com
                        Email: ldelnegro@fclaw.com
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                        Attorneys for Plaintiff/Creditor
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                   7                        IN THE UNITED STATES BANKRUPTCY COURT
                   8                                     FOR THE DISTRICT OF ARIZONA
                   9    In Re:                                       Chapter 7 Proceeding
                  10    DAVID M. RAIFFE,                             Case No.: 2:18-bk-15086-DPC
                  11                        Debtor.
                  12
                        UNITED MIDWEST SAVINGS BANK                  Adv. #: 2:19-ap-00098-DPC
                  13    dba MIDWEST BUSINESS CAPITAL,
                  14                        Plaintiff,               PROPOSED JOINT DISCOVERY PLAN
                  15                   v.
                  16    DAVID M. RAIFFE, an individual,
                  17                        Defendant.
                  18
                  19             Pursuant to Rule 7026, Federal Rules of Bankruptcy Procedure, and applying Rules
                  20    16 and 26 of the Federal Rules of Civil Procedure, Anthony W. Austin, counsel for
                  21    Plaintiff, and Adam Hauf, counsel for Debtor/Defendant, hereby submit the following
                  22    joint discovery plan for the scheduling conference set for July 1, 2019 at 11:00 a.m.
                  23             1.    The parties will exchange by July 29, 2019, the information required by
                  24                   Fed.R. Civ. P. 26(a)(1); supplementations under Rule 26(e) are due as
                  25                   required by Rule 26(e).
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                   1         2.    The parties do not believe that any changes are necessary for the timing,
                   2               form, or requirements for disclosure under 26(a).
                   3         3.    The parties agree that discovery is needed regarding the information relating
                   4               to Counts One through Three of the Complaint. The parties do not believe
                   5               that discovery in this matter requires phases or that discovery should be
                   6               limited or focused in any way other than to limit discovery to the
                   7               aforementioned subjects.
                   8         4.    All Electronically Stored Information should be produced in native or
                   9               searchable PDF format.
                  10         5.    The date for completion of all discovery (general and expert) should be
                  11               completed on or before October 30, 2019.
                  12         6.    The parties do not believe any changes to the limitations on discovery
                  13               imposed by the rules or by local rules are necessary in this matter.
                  14         7.    All potentially dispositive motions should be filed by the moving party on or
                  15               before November 6, 2019.
                  16         8.    All motions in limine and pretrial briefs should be filed by the moving party
                  17               on or before December 18, 2019.
                  18         9.    All witness lists and exhibits should be exchanged and filed no later than the
                  19               date set for the pre-trial conference.
                  20         10.   The joint pretrial statement should be filed at least one week prior to the
                  21               date set for the pretrial conference.
                  22         11.   The Parties agree this is a core matter and consent to entry of final judgment
                  23               by this Court.
                  24         12.   This case should be ready for trial by January 13, 2020. Trial is expected to
                  25               take approximately two (2) days.
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                   1          13.    The parties request a pretrial conference be scheduled approximately two (2)
                   2                 weeks before trial.
                   3
                        DATED this 27th day of June, 2019.
                   4
                                                                    FENNEMORE CRAIG, P.C.
                   5
                                                                    By /s/ Anthony W. Austin
                   6                                                   Anthony W. Austin
                                                                       Elizabeth A. Delnegro
                   7                                                   Attorneys for Plaintiff
                   8
                   9                                                HAUF LAW
                  10                                                By /s/ Adam Hauf
                                                                       Adam Hauf
                  11                                                   Attorneys for Defendant/Debtor
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